             Case 1:10-cv-05791-NJV Document 5 Filed 02/01/11 Page 1 of 2



1
     Todd M. Friedman, Esq. (216752)
2    LAW OFFICES OF TODD M. FRIEDMAN, P.C.
     369 S. DOHENY DR. #415
3
     BEVERLY HILLS, CA 90211
4    877 206-4741
5
     866 633-0228 facsimile
     tfriedman@AttorneysForConsumers.com
6    Attorney for Plaintiff
7
                      UNITED STATES DISTRICT COURT
8
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
9
     SAUL LEFORT,                )                Case No. 1:10-cv-05791-NJV
10
                                 )
     Plaintiff,
11                               )                NOTICE OF VOLUNTARY
12          vs.                  )                DISMISSAL WITHOUT
                                 )                PREJUDICE
13
     CORY G. HICKS & ASSOCIATES, )
14   INC.,                       )
     Defendant.                  )
15
                                 )
16                               )
17

18
           NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the
19
     Central District Court of California, Plaintiff’s Notice of Voluntary Dismissal
20

21   Without Prejudice, a copy of which is hereby served upon Defendant.
22
           RESPECTFULLY SUBMITTED this 1st day of February, 2011.
23

24                           By:   s/Todd M. Friedman
                                   Todd M. Friedman, Esq.
25
                                   Law Offices of Todd M. Friedman, P.C.
26                                 tfriedman@AttorneysForConsumers.com
27
                                   Attorney for Plaintiff

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                                     Notice of Dismissal - 1
              Case 1:10-cv-05791-NJV Document 5 Filed 02/01/11 Page 2 of 2



1    Filed electronically on this 1st day of February, 2011, with:
2
     United States District Court CM/ECF system
3

4    And hereby served upon all parties
5
     Notification sent on this 1st day of February, 2011, via the ECF system to:
6

7    Honorable Nandor J. Vadas
     Judge of the United States District Court
8
     Northern District of California
9
     Copy sent via mail on this 1st day of February, 2011, to:
10

11   Cory Hicks
12   Cory G. Hicks and Associates
     6375 E Tanque Verde Suite 40
13
     Tucson, AZ 85712
14

15
     By: s/Todd M. Friedman
16       Todd M. Friedman
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                                        Notice of Dismissal - 2
